                        EXHIBIT B




Case 1:18-cv-00096-MR-WCM Document 1-2 Filed 04/13/18 Page 1 of 8
STATE QF NORTH CAROLINA                                           IN THE CENER~L CpURT 0~ JUSTICE
COUNTY OF CFI~ROKEE                               ~Q~~ ;.~~~[~ 1 ~r5 ~RI RL ~URT DIVISION
                                                                  FI~ N~ ~.~~VS 118

 BRIAN NoGAN, individually, et al.                     ~ '~]~~ `~~       ",'              ~''
                                                  ..       a
                                    Plaintiffs,            ]              ""' ~ "~~~ ••
                                                           l
vs.                                                        J                   MOTION FOR PROTECTIVE ORDER
                                                           J
 CHEROKEE GOUNlI', et. al.                                 ]

                                                           I
                                   Defendants.


 Now come the Plaintiffs, and move this Court to sign and enter the attached Protective Ordcr concerning
'the disclosure of exhibits, as described in the Order. In support of this motion, Plaintiffs show unto the
 Court the following:

      1. This lawsuit was filed on 14 March, 2018 in Cherokee County involving several dozen minor
         children, known and yet to be determined.

      2. That certain exhibits include the names, Idcations and personal informatiion of dozens o~F minor
         children.

      3. Counsel for Plaintiffs argue and assert that disclosure of the exhibits at this time may be harmful
         to the minor children.

      4. That given the confidential nature of the documents Plaintiffs' have filed as exhibits, it would be
         appropriate to restricC ~cc~ss to such information to only the pasties and their counsel at this time_

      S.    The proposed Protective Order restricts disclosure of exhibits to counsel and persons involved in
           this litigation.

      6. The Plaintiffs assert that entry of the Protective Order does not prejudice the right of ~eiCher party
         to challenge the admissibility of exhibits at trial or to raise other evidentiary objections,


'THIS the 15th day of March, 20 8.

                                                                     Meliss(lJac n
                                                                     Attorney f Plaintiffs
                                                                     95 Depo reet
                                                                     Waynes ~ le, NC 28786
                                                                     P:82S, 2.S80~./F: 828,454.1990




                                                                                                             X

   Case 1:18-cv-00096-MR-WCM Document 1-2 Filed 04/13/18 Page 2 of 8
STATE OF NORTH CAROLINA                                         ~ IN THE GENERAL COURT QF JUSTICE
COUNTY aF CWEf20K~E                           TQ~~ r;~~,~ ~    5 p~P~RkP~ft CQURT DIVISION
                                                                  F1GE NC1 18 CVS x.18

BRIAN HOGAN, individually, et al,           '`'' ~       )~              `°'~
                                               ,y, I,   ~~~


                                    PlainCiffs,          ~ .. ._..:...__. ._,.:...~~.~,.

vs.                                                      ]                            PROTECTIVE ORDER
                                                         7
 CHER~K~~ COUNTY, et, al.                                ]


                                    Defendants.          ]



THIS MATTER having come on Co be heard before the undersigned Superior CourtJud~e without notice, in
and for Cherokee County, NorCh Carolina. After consideration ofthe Plaintiffs' Motion for Protective Or'de►',
the Court finds as follows;

                                                     FINpINGS O~ ~A~CT

      1. The Plaintiffs in this matter are rep~esent~d by attorneys David ~. Wijewickrama, Melissa Jackson,
         Ron Moore and Brandon Christian.

      2. The DefendantScoTC Lindsay is represented by attorney Patrick Flanagan. All other Defendants
         are represented at this time by Sean Perrin,

      3. That certain exhibits attached to plaintififis complaint, involve information regarding minor children
         and are sensitive in nature.

      4- Plaintiffs asserC that exhibits involving minor children are material and relevant to the subject
         matter involved fn this lawsuit,

      S, Plaintiffs assert that exhibits involving minor chaldren while relevant to the complaint, ar~'s~nsiUive
         and that at this time, it would be in the best interest of the minor children that this information
         remain sealed and available only to the parties and their counsel.

      6. That this order is in the best interesC of the minor children_




                                              CONCLUSIONS OF LAW

Based upon'the above findings of fact the Court concludes as a matter of law;




      Case 1:18-cv-00096-MR-WCM Document 1-2 Filed 04/13/18 Page 3 of 8
:~..


           1. That the Court has jurisdiceion overthis matter and the parties.

           Z. that the interests of the parties in m~intiaining the confidential nature of these exhibitis must be
              balanced a~air~s~e The inCerests of the parties in obtaining any ~vldence to which they are entiitled
              under the United St~Xes Constitution and state law.

                                                          ORDER

       It is therefore ORDERED, ADJUDGED AND D~CR~ED;

           ~„ Only infiormation deemed necessary under the Constitution for the full and proper prosecution or
              deFense claims arisingfrom this action, and in the inTeres~ of justice will be. released to tihe parties
              and ~estiFied C4.

               That counsel and parCies must keep all confidential exhibits learned from Plaintiffs' compl~ir~C for
               use only in preparation and defense of litigation. All such persons are subjected to the same
               confidentiality requirements under this Order as counsel, Any Further disclosure or distribution of
               the sealed exhibits may be made only by the Order of the Court upon finding that further
               dissemination is necessary for the full and proper prosecution or defense of these causes,

           3. That the attorneys or clients shall not release the exhibits or disseminate any informatipn (earned
              from the exhibits to any person except as specified in this grder,

           4. That after the conclusion of the trial and appeals in this matter, the attorneys shall retain the
              exhibits and testimonial information as confidential pending further Order frgm ehis Court or one
              of higher authority,

       THIS the ~,S~Ch day of March, 2018.                                  '         r          . /~.

                                                                                            (~
                                                                  Superior C urt udge Presiding




           Case 1:18-cv-00096-MR-WCM Document 1-2 Filed 04/13/18 Page 4 of 8
 ST11TE 0~ NQR.`Z'H CASt.O~,TN~~                                ZN '~'I~.E GEN~~tA.L COCJRT OF TCTS'TZCE
                         2016 Pf~~ { 5 Pik 2= O6
 COU~1T'Y" 0~' CHEROK,EE                        s~rp~x~oR cov~T pz~zszo~r
                                        ,,,
  BR~.A.N ~TOCr~~N, both on hi~sWor~z beb~al           )..`..;.:.,
  as'repz~ese~tative of a11~ unriarncd~class         ~ ~
  zx~exxzbers r~vho are siz~.i~axZy situated;
  BRIAN ~OG.A.N~, as parent and nc~ f~iEnd o£ ~
  ~T.~., bot.~ ox~ her own behalf and as a             ~
  xep~resen-Cative off' aU ux~azxxed class xzae~xzbers
  ti~~b.o are similaxl~ sit~xated
                                                                             MOTION
                          ~laintif~s,                        ~a~zorr roe. ~~~nra~r ,~.n ~.,~~~~[

                   ~.                                    )

 Ck~~OKEE COTJ~I'~'X;                                 )
 CHERQ~E COLT.[~T"Y' b~PraRT1VIEN~' 0~ )
 SOCxAX, SERVICES;                     ~
 SCOT"I' LINDS,A.'S~'~, in bot11 his individual      ,
 ca~aci~y az~,d ~s official capacity as attoxne~
 £ox Cherokee County Deparb~x~extt o~ Social          )
 Sex-vzces; C1N'b~Y PALIv.I,E~t, ixa botkx b~ex
 individual, capacity and her of~iciaX capacity as    ~
 birec~ox o;f Ck~erokeE County De~arrr~e~,t o~
 Social Services;                                     ~
DSS SY~'PBRVISOkZ ~0~ #1, both in his/her ~
iz~dx~vxdua~ capacity and his/hex o:f~'icxa~  ~
eapac~ty as an employee o~ ~klexol~~e Couxxty
De~arbtx~ez~t of Social Sezvices; anal        ~
pSS SOCIAL WOOER DOE #1, both in                     ~
his/her i~ndi~vic~~xa~ capacity andhis/her of.~.cia1 ~
capaczty as an employes o~ C~Zezo~ee County
De~aztxx~ent of Social Services;                     )
                         be~endants,                 )




Case 1:18-cv-00096-MR-WCM Document 1-2 Filed 04/13/18 Page 5 of 8
                                             MOTrON
 CO~v~[ES ND'tx1', ~'laintif~s counsel on beha.Lf of the Plaintiff minor child and children yet
 to be determined["NIo~van4"], pursuant to N.C.R.C.P. RuXe 17[cJ[X), a~ad moves the Couxt
 fox thy; a~~o~t~.eztt o~ a guax-dz~ ad XXtez~ ;Fox fb.e }aexezx~-x~a~ed ~i.~oxs az~.d £ox gxou~,ds
 therefore stia~tes:


     a) Zs aa~ ux~e~azacipated minor whose date of birth. is 1/16/2006.
     b) Has multi~J,e fo;r~ and coxzsYi~tu~io~.al c~aiu~s as a p~a~ratz£~' agaaxzst the above
        ca~~~or~ed de~endaz~ts, ~n~~zck~ c~aizxz is also based upon vzo~at~oz~ o:f 1983 U.S.C.
        Section.
 2) U;gzlaxs~ed. a~ad yet to be determined minor children:
     a) Axe ux~exz~ancipated' minoxs w~.ose dates of birth are yet to b~ disclosed or
        detexr~.iued i~ tbas action.
     b) Have ~u1~ipJ,e toxt ax~,d co~st~~.t~ao~aa~ c~axzxxs As ~ plaiz~t~;f£ against tkae above
        captioned defendants, r~vk►ich crainl is also based upon vxolatzo~a o~ X9S3 U,S.C,
        Secf~oxt. ~ovaxtt:
    c) Are tb~e c~i~dxex~ of P1aia~~i:f:Fs yet to be disclosed and determined.
    d) Anticipates the fil~g zaoxe ~ot~or~s atad e1ai,~s ~z~ puxsuat o;f tk~e above described
       complaint against the abo~ve~named ~otez~~ia~ de~ez~dax~~s azxd/or pexsv~s ~ssoc~afed
       ~wit~i sucks pa~e~t~~l de£ez~daxzts az~d those yet to be deternzined.
    e) ~n~iei~ates Y3~e prozx~pt puxsuat o~ tie above~descxibed claims against the abov~-
       x~axxxed potential defendants and/or persons associated wi~tb. .sucb~ pote~~aal
       de£endarxts by voluntary entry into pre-litigation ~.ediatioz~ ~o be coz~dL~c~d by
       consent puxsu~at to tJae "Rues Z~plezxaex~taz~g Statewide Mediated S~ttl~rn~nt
       ~onf~re~.ces x~a S~upexzoz Couz~ Cx~x~ Cases" promulgated p~,u~suant to N`.C.CT.S.
       Seotaon 7A~38.1 in ~Che same manner as though sttck~ cZaaxz~s were tJzex~ pez~dxz~g
       befoxe th.e Su~p~rior Court.
3) Zt xs appropriate and ~n tk►e best interests o~ the ~Zereix~-ma~oae~. xx~z~oxs tk~at tlae Court
   appoz~at a discreet person as a guardian ad 1i~em. for each o£ t~~e ~.exei.~-z~azx~ed ax~.ix~ors
   so thaC tie apppzx~ted guaxdian ad litex~ may thereafter act on behalf of 'the heze~m-
   named no~oxs z~ all aspects zequ~red fox the puxsuit and/or settlement o~ the abo~ve-
   described claims.
4) Attorney rod Zvlc~~vex zs a duly ad,~itted ~,awyex to the N'orCh Carolina Bar in good
   sta~r~dixxg, with ~x~erience, ability and willingz►ess ~o serve as guaz~diax~. ad litexn in this
   x~attex_                                          ~
RESPECTFULLX SU~~['~'~~J tk~.is fJze ~ ~             clay o~ IvTarch 2018.


        JacZcso~a,




Case 1:18-cv-00096-MR-WCM Document 1-2 Filed 04/13/18 Page 6 of 8
 I~rOR.TH C1a,~2.OL~T,l~.           ZN' 'Z'~ GBNE~2.E~S. CO'UkT 0~' JUSTYCE
 C~~tOS~E COUNTY 2Q~~ (~fA~ ` j PM ?,~    ~IOR COURT DZVxSSON
                                                        1s cars   1l `~
 BRIAN ~OG.A:TT, et, al.~'~k~'tk~... +:~ ~'      4':;
                  P~,A1rTTY~'~'+,~~~                        ~'
 Vs.                                     .)
 CHE~tOKEE COUT~T'~St' et. a1..,


                                GUA~,tDIAN AD LZ'~'E~_0~~~2
 ~'.~IS MA.~'~~t CON~C~Cr 01~T TO ~~ ~TEAR~ and being heatc~ be~oze the tu~dexs~gzaed
 Cler~C of Su~eriox Co~.u~t upon tkze ~ao~.ox~ off' k'~~iu~tx~'£'s couxisel ["Movant"~, pursuant tp
 N.C.R.C.P. lZule 17[c~[1~, fox the a~~ozntz~e~~ p£ ~. guardiaa~ ad. item for the herc;in
 nalx~ed zx~taoxs in matters that ~~rtain to the ~ursui~ and/or sett~ex~ae~t by t1~.e c~azrz~s set
 forth in the nt~otxo~ axxd tie Couxt being ~u~ly advzsed of the premises thereof.
 TT~E COURT SINUS .A,S ,A. N,CA.~'~'EkZ. Ok' ~.A.C`~' ,ANl~ ~,.A.~1J' as follows:
1) H.H..
    a) Is an ux~ex~arncipated aninor whose dale of birth is 1/16/2006,
    b) has a tort claim as plaintiff against the above cap~aoz~ed defendants which claim is
       also basEd upon violation o~ 1983 U.S.C. Sec~tidzt.
2) TJnnamed gad yet to be detezxnixaed zn~inox chilc1~en:
    a) .Are u~aex~aTzczpated n~i~a.o~•s w~iose dates of birth. are yet ~o be dxsc~psed oz•
       detexmin.ed in this action.
    b) Have zr~ultzpl.e ~o~ a.~ad coz~s~i~~zo~a~ cXaims as a ~lain.~iff against fine above
       captioned defendants, which claim is also based upon vio~.ation of 1983 TJ.S.C.
       Section. Movant:
    c} Aye ~kk~,e cku~c3~ren of plaintiffs yet to be disclosed and d~terna~~.ed.
3) l,Vlo~rat~t;
    a) .Axe unemanc~pated minors whose dates o~ bixtl~ are yet to be disclosed or
       deterxraax~.ed ita. this action.
    b) Has mu~~ap~e toz~t az~.d co~stxtutioz~al claims as a ~lainti~f agaXz~st ~e above
       captioned defez~daaats, which c~      ~s also based. upon viola~io~ o;~ X983 U.S.C.
       Secfxon. Movant:
    c) .Axe tie el~ildr~:n of Plain1;if~s yet ~o be disclosed a.~d detextx~uin~d.
   d) A.ntici~a~tes ~,he £~~u~.g z~aoxe zr~otxox~s azid claims in pursuit o:E 1~,e ~.bvve-descxxbed
      cox~plain~ agarns~ ~e above-~aazi~ed pote~.txal defendants and/o~• ~erso~s associated
      ~i~h sucks potential defendants azid those yet to be detezxxu~ed.
   E) F1n~icipates ~e prompt puxsu~t of the abov~descxxbed c~ax~s against the above



Case 1:18-cv-00096-MR-WCM Document 1-2 Filed 04/13/18 Page 7 of 8
                                                                                                            , ;




          x~a~zaed pote.ntaal defex~dar~~s a~.d/vx persoz~s associated wzt1~ such ~ote~.ti~~
          de~endar~t~s by ~vo~u~ntaxy entry into ~xe~litigation mediation to be conducted by
          consent ~arsuant to the "Rules Tm~lementing Statewide Mediated SettJ.ezxzex~t
          Cop,£exex~ces iz~ Supez'xol; Court Cz~~tl Cases" pzo~~.ulg~ted pursuant to N.C.G.S.
          Sectzoz~ 7,A.-38,1 ~n ~e s~x~ae zxzat~aer as ~ougla such, claims mere t~.e~ fending
          beforE t1~e Superior Courti.
 4) Xt i.s appropriate and in the best interests of the h~1•ein~named rninoxs that the Couxt
    ap~o;~.t a discreet pe~soz~ as a gttazdi~a ad li~exn ~'ox each. o£ the hereiz~~nanied minors
    so that the a~~o~nted guardian ad litFxn may thereafter act on behalf of the herein
    z~azxzed minors in all aspects zequxxed fox tie puxsurt a~ad/ox sett~exz~,et~t of the above-
    desc~r~bed c~aixz~s.
 5) Joy McZ~er has agreed to sex-v~e as guardian. ad item and is a discreet and suitable
     person ~o fi11fi~~ such xo1e.



 X'X' XS ~~~01Z~ ORDERED that ~'oy Iv.CcTver be and is appointed guardian ad litem.
 for ~.T-~. and the other minor children so that the a~~ointEd guardian ad litem m.ay
 thereafter act on belaaJ,~' o:F t,~e k~ere~z~~x~amed zx~z~oxs in all aspects ze~t~ixed for tae pti~rsud~
 and/or settiexnex~t of tk~e above-described c]aims.



 UON.~ AI~T]~~tDBRED this /~ day of March 2013.




 ~t.ogEr b.
Clerk of Superior Covtt
Cherokee Coux~ty, ~toxkl~ Carolina




Case 1:18-cv-00096-MR-WCM Document 1-2 Filed 04/13/18 Page 8 of 8
